             Case 1:19-cr-00018-ABJ Document 46-2 Filed 02/26/19 Page 1 of 2




stone_indictment_012419 - logs
A log of all mention of stone_indictment_012419.pdf in the justice.gov logs.
Time                        Event

2019-02-04T23:04:40-0500                                             • • [05/Feb/2019:04 04:40 +0000) "GET /lile/1124706/
                            stone_lndictment_012419 pdf HTTP/1.1" 200 7131

                            host=www.justice gov, , ,                     I
2019-02-04T23:04:40-0500                                 [05/Feb/2019 04:04:40 +0000) www justice.gov GET /lile/1124706/
                            stone_lndictment_012419 pdf htlp_code=200 query= uid=O php_pid=19336 php_time=0.414 queue_wait•O requesl_ld•"v
                            -290d1a5a-28fb-11e9-a1b9-1b5d3e41bla9"
2019-01-25T11 :40:58-0500                                   Jan 25 16:40 59                        httpsJ/edit.justice govl1548434459I
                                                      lhttpsJ/ediljustice gov/acquia_purge_ajax_processor?_ =1548434457549Ihtlps:l/edil justice.
                            govlfile/1 124706j42061IIPurging sites/defaull/liles/lleldable-panel-panes/basic-panes/allachmenls/2019/01/25/
                            stone_indictment_012419 pd

2019-01-25T11 :40:57-0500                                   Jan 2516:40 57                    httpsJ/edlljustice govl1548434457I
                                                     lhllpsJ/editjustice gov/acquia_purge_aJax_processor?_=1548434457549jhllps:l/edil justice.
                            gov/file/1124706I42061IIPurglng system/lemporary/stone_lndlctment_01241 9 pdf from Akamai request_ld="v-fd88e2ee-
                            20bf-11e9-a355-5f925f5c1777"

2019-01-25T11:40:57-0500                                     Jan 2516:40 5                      httpsJ/ediljustice govl1548434457I
                                                         https:/ledn Justice.gov/acquia_purge_ajax_processor?_ =1548434457549Ihttps //edit.justice
                            .gov/file/1124706I42061 IIAcquiaPurgeExecul orAcqula:
                                         lallachmenls/2019/01/25/stone_lndlctment_012419 pdf (hosl• www.jusUce.gov) succeeded (PURGE, 200).
                             requesl_id="v-fd88e2ee-20bf-11e9-a355-5f92515c1777"
2019-01-25T11:40:57-0500                                       Jan 25 16:40 57·■-■■■ hllpsJ/ediljustice govj1548434457I
                                                          lhllps:/ledil Justice.govlacquia_purge_ajax_processor?_ =1548434457549lhllps //edit.justice
                            .govfflle/1 124706I42061 IIAcqulaPurgeExecutorAcquia lllll■.l!IJll.!l!l~■.[llll!!![!ll!l!ll!IIIJ!I~ /slone_indlctmenl_01241 9.
                            pdf (hosl=www.justice gov) succeeded (PURGE, 200). request_ld•"v-fd88e2e&-20bf-11e9-a355-Sf925f5c1777"
2019-01-25T11:40:57-0500                                       Jan 2516:40 5,11■■■■- httpsJ/edit.Justice govl1548434457I
                                                          lhtlpsJ/edil Justice.gov/acqula_purge_ajax_processor?_ =1548434457549lhllps 1/ediljustice
                             .govfflle/1124706I42061 IIAcqulaPurgeExecutorAcquia
                                          allachments/2019/01/25/stone_lndictmenl_012419 pdf (hosl-www.justice.gov) succeeded (PURGE, 200).
                              request_id="v-fd88e2ee-20bf-11e9-a355-5f92515c1777"

2019-01-25T11 :40:57-0500                                     Jan 25 16:40 57                    https:/ledil.justice govl1548434457I
                                                         lhtlpsJ/edit justice.gov/acquia_purge_a)ax_processor?_ = 1548434457549Ihtlps I/edit.justice
                             .govfflle/1124706I42061IIAcquiaPurgeExecutorAcquia:■■■         . ~~~!l!!■~l!l!l!l!!ll!!IJ'stone_indlctment_012419
                             .pdf (host=www justice.gov) succeeded (PURGE, 200). request_ld="v-fd88e2e&-20bf-11e9-a355-5f925f5c1777"

2019-01-25T11:40:56-0500 1!11!1!1111!11!1!1!!!11■1!1-■■■ Jan 25 16:40 56i~■lll!ll!III https //edit justice.govl1548434456Ifil-
                          101.1 .1 17Ihttps:l/edit.justice govfflle/1124706/edlqhtlps:l/ediljustice govlflle/1124706/edill4206111Documenl:
                          updated stone_indictmenl_012419.pdf. request_ld="v-f 27d5984-20bf-11 e9-a944-4fe552453fb7"

2019-01-25T11:40:53--0500 !!!!!!!!!!!!!!!!!!!1■1!!1!!111!11!■■ Jan 2516:40 54.~■1111!11!111 https /leditjustice.govl1548434454ffile-
                          -               lhllpsJ/ediljustice govfflle/1124706/ediqhtlpsJ/ediljuslice gov/lile/1124706/edlll4206111The file
                           stona_indictment_012419 pdf al tamporary:l/stona_indictment_012419 pdf with File ID 1124726 was deleted request_ld•"v
                           -f27d5984-20bf-1 1e9-a944-4fe552453fb7"
2019-01-25T06: 12:40-0500                                       Jan 25 11: 12:43                httpsJ/ediljustice govl1548414763ldoj_akamail
                                           lhtlpsJ/edil justice.gov/acquia_purgo_ a)ax_proQesaor?_ • 1548414763482lhllps 1/ediljusUce.gov/scol
                             42061 IIPurging sites/defaull/liies/lleldable-panel-panes/basle>panes/attachmenl s/2019/01/25/stone_indictment_012419.pdf
                             from Akamai request_id="v-22f1 1782-2092-11e9-8935-a7f9b6bf9fd5"

2019-01-25T06:12:40-0500                   . . . . . . Jan 2511 :12:43■-■■I httpsJ/edit.justice govj1548414763Iacqula_purgel
                                           lhtlpsJ/edit Justice.govlacquia_purge_ajax_processor?_ = 1548414763462lhllps 1/edil)ustice.gov/scoj
                             42061 IIAcquiaPurgeExecutorAcquia:
                             attachments/2019/01/25/stone_ indictment_012419 pdf (host• www.justice.gov) succeeded (PURGE, 200). request_ld•
                             "v-22111782-2092-11 e9-8935-a7f9b6bf9fd5"

2019-01-25T06:12:40-0500                   . . .■.11111!1 Jan 2511 :12:43■11!111■■1 httpsJ/ediljustice govj1548414763-                _purgej
                                           lhtlpsJ/edil Justice.gov/acquia_purge_ajax_processor?_ =1548414763462lhllps 1/ediljustice.gov/scol
                             42061 IIAcquiaPurgeExecutorAcquia:
                             attachments/2019/01/25/stone_indlctment_012419 pdf (host•www.justice.gov) succeeded (PURGE, 200). request_ld=
                             "v-22111782-2092-11 e9-8935-a7f9b6bf9fd5"

2019-01-25T06:11 :49-0500 1!1!1111!1■"'                   Jan 25 11: 11 :49!11111!1■■111!1 https I/edit Justice.gov! 1548414 7091
                           doj_akamai              lhtlps:1/edit.Justice gov/acqula_purge_ ajax_processor?_ =1548414705576lhttpsJ/edit Justice.
                           gov/media/1124706fformat-form?render•media-popup&fields=undeflnedl42061IIPurging sltes/defeuiVfiles/
                           stone_lndictment_012419 pdf from Akamal request_ld="v-0070167<>2092-11 e9-bb38-7bf1af0d1fb1 •

2019-01-25T06:11 :45-0500                                    Jan 25 11:11 :45,■■■■- https //edit Justice.govj15484147051
                                                        jhtlpsJ/edit )ustice.gov/acquia_purge_ajax_processor?_ =1548414705576lhllps /lediljustice
                             .gov/media/1124706/fonnat-fonn?rende,,.media-popup&flalds• undefinedl42061 I
                                                          /stone_indictment_012419.pdf (host=www.Justice gov) succeeded (PURGE, 200).
                             request_id="v-0070167<>2092-11e9-bb38-7bf1af0d1fb1 "




                                                                                                                                            2019-02-25 11:48:35 EST
                                                          stone_indictment_012419 - logs                                                                     Page 1
           Case 1:19-cr-00018-ABJ Document 46-2 Filed 02/26/19 Page 2 of 2




Time                       Event

2019-01-25T06:11:45-0500                                    Jan 25 11:11:45                doj: https //editjustice.govJ1548414705J
                                                          Jhttps://edit Jusllce.govlacquia_purge_ajax_processor?_ =1548414705576Jhttps I/edit.justice
                           .gov/media/1124706/format-form?render=media-popup&fields =undefinedJ42061 JIAcquiaPurgeExecutorAcquia: https:/1
                                         /sites/defaultlfiles/stone_lndictment_012419 pdf (host=www.justice.gov) succeeded (PURGE, 200).
                           request_ld="v-00701670-2092-11 e9-bb38-7bf1af0d1 fb1 •




                                                                                                                                      2019-02-25 11 :48:35 EST
                                                       stone_indictment_012419- logs                                                                    Page 2
